          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                       CRIMINAL NO. 1:99CR52-19


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            VS.                           )            ORDER
                                          )
                                          )
LONNIE EDGAR PEELER, JR.                  )
                                          )


      THIS MATTER is before the Court on Defendant’s motion for a

reduction of sentence, filed July 28, 2008, a motion for recusal of a district

court judge, filed August 6, 2008, and a motion for a writ of habeas corpus

and relief from judgment, filed August 19, 2008. The motions are denied.

      The procedural history of this case has been thoroughly summarized

in prior Court orders and is incorporated herein. See Memorandum and

Order, filed April 12, 2007, at 2-7 (denying Defendant’s § 2255 motion

to vacate); Order of Dismissal, filed May 29, 2008, at 1-2 (denying

Defendant’s motion pursuant to 28 U.S.C. § 1651). Defendant is

currently serving a 235-month term of imprisonment. Judgment in a

Criminal Case, filed August 30, 2004.




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        Addressing first the Defendant’s motion for recusal of the

undersigned, he alleges that the Court abused its discretion in sentencing

him to a longer term of imprisonment than was agreed upon in his plea

agreement; that by ruling on his post conviction motions without requiring

the Government to respond, the Court has shown favor to the Government

and has denied the Defendant due process; and that due to the Court’s

bias and prejudice toward him, the Defendant cannot receive due process

of law or equal protection under the United States Constitution. See

Defendant’s Motion for Recusal, at 2-3.

        Title 28 U.S.C. § 455 1 provides in pertinent part:

        (a)   Any . . . judge . . . of the United States shall disqualify
              himself in any proceeding in which his impartiality might
              reasonably be questioned.
        (b)   He shall also disqualify himself in the following
              circumstances:
              (1) Where he has a personal bias or prejudice concerning a
              party[.]

28 U.S.C. § 455. As stated in the statute, a judge is required to recuse

himself from any proceeding in which his impartiality might reasonably be

questioned. Id. “This objective standard asks whether the judge’s

impartiality might be questioned by a reasonable, well-informed observer



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      Defendant incorrectly cites this statute as 29 U.S. C. § 455.


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who assesses all the facts and circumstances.” United States v.

DeTemple, 162 F.3d 279, 286 (4 th Cir. 1998) (internal quotation

omitted).

     Here, the Defendant states that the Court abused its discretion when

sentencing him to 235 months imprisonment even though his plea

agreement called for a specific sentence of 63 months and that the Court

accepted his guilty plea “without discussing the plea agreement.”

Defendant’s Motion, at 2. However, the record shows otherwise and the

Fourth Circuit agreed, having affirmed Defendant’s conviction and

sentence. See United States v. Peeler, 148 F. App’x 184-85 (4 th Cir.

2005); see also Memorandum and Order, supra, at 5-7.

     Next, the Defendant states recusal is necessary because the Court

has ruled on Defendant’s subsequent post conviction motions without

requiring a response from the Government, thereby showing favor to the

Government and denying the Defendant due process. In denying the

Defendant’s motion to vacate, the record of the earlier criminal proceedings

clearly demonstrated the Defendant was not entitled to relief and the Court

determined it was unnecessary to require the Government to respond to

his allegations. See Rule 4, Rules Governing Section 2255




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Proceedings for the United States District Courts; Memorandum and

Order, supra, at 2. Instead of filing an appeal of the Court’s summary

dismissal of his § 2255 motion, the Defendant has determined to flood this

Court will spurious, meritless motions that contain the same baseless

allegations and arguments previously presented and, as such, require no

response from the Government.

      Lastly, the Defendant alleges he has been denied due process and

other Constitutional protections due to the Court’s bias and prejudice in this

case. Other than his complaint that the Court has shown favor to the

Government by not requiring responses to his motions, and the fact that

the Court has not ruled favorably in his behalf, the Defendant fails to

specify what action the Court has taken that could be construed as

displaying bias or prejudice in these proceedings. “Almost invariably

[adverse rulings] are proper grounds for appeal, not for recusal.” Liteky v.

United States, 510 U.S. 540, 555 (1994). Such vague allegations and

conjecture are insufficient to show personal bias, impartiality or improper

conduct. Green v. Branson, 108 F.3d 1296, 1305 (10 th Cir. 1997). The

statute “requires recusal if the judge’s impartiality might reasonably be

questioned by a well-informed, thoughtful observer rather than to a




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hypersensitive or unduly suspicious person.” O’Regan v. Arbitration

Forums, Inc., 246 F.3d 975, 988 (7 th Cir. 2001). The Defendant has fallen

woefully short of making such a showing and his motion for recusal must

be denied.

     Defendant has also filed a motion for reduction of sentence pursuant

to 18 U.S.C. § 3582(c)(1)(A), which section provides in pertinent part:

     The court may not modify a term of imprisonment once it has
     been imposed except that – in any case – the court, upon
     motion of the Director of the Bureau of Prisons, may reduce the
     term of imprisonment . . . if it finds that (i) extraordinary and
     compelling reasons warrant such a reduction; or (ii) the
     defendant is at least 70 years of age, has served at least 30
     years in prison, . . . for the offense or offenses for which the
     defendant is currently imprisoned, and a determination has
     been made by the Director of the Bureau of Prisons that the
     defendant is not a danger to the safety of any other person or
     the community . . . and that such reduction is consistent with
     applicable policy statements issued by the Sentencing
     Commission[.]

18 U.S.C. § 3582(c)(1)(A). Defendant alleges that he is suffering from

“several medical problems that are comparable to being handicapped,”

such as chronic obstructive pulmonary disease, bronchitis, coronary artery

disease, high blood pressure, cardiovascular disease, and emphysema.

Defendant’s Motion for Reduction of Sentence, filed July 28, 2008, at

3. He also alleges his physical condition is worsening the longer he is




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incarcerated. Id. However, the statute is clear that this Court has no

power to reduce Defendant’s sentence unless the Director of the Bureau of

Prisons makes such a motion on the Defendant’s behalf and cites

extraordinary and compelling reasons warranting such relief. The Director

has not filed such a motion.

     Defendant’s last motion is one for a writ of habeas corpus pursuant to

28 U.S.C. § 1651 and for relief from judgment pursuant to Fed. R. Civ. P.

60(a) and (b). The § 1651 motion mirrors the previous one Defendant filed

in February 2008 and is denied for the same reasons as set forth in the

Court’s Order of Dismissal filed May 29, 2008. See Order of Dismissal,

supra, at 4 (finding Defendant was attempting to challenge his

conviction and sentence a second time and determining the Court

lacked jurisdiction to consider a second or successive petition, citing

United States v. Winestock, 340 F.3d 200, 205 (4 th Cir. 2003)).

     Defendant also moves for relief from the Judgment, arguing that

since he did not receive the benefit of his plea agreement, i.e., a sentence

of 63-78 months, that the Court should set aside his 235-month sentence,

order the Government to file a Rule 35 motion to reduce his sentence for

Defendant’s substantial assistance, and then resentence the Defendant to




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a term of 64 months imprisonment. Defendant’s Motion for Reduction of

Sentence, supra, at 8-10. The motion is clearly without merit.

      Defendant is not only consistently incorrect in his recitation of the

facts, but fails to mention some pertinent details. No where in his plea

agreement is a promise that he will serve a specified term of imprisonment

in exchange for his guilty plea. Plea Agreement, filed August 20, 1999.

The Government’s motion for downward departure, filed the day Defendant

was originally scheduled to be sentenced, recommended the Court

sentence the Defendant to a term of 63 months to reflect his substantial

assistance during the investigation. Motion for Downward Departure,

filed July 6, 2000. What is conspicuously missing from the Defendant’s

recitation of the facts is his admission that he failed to appear for

sentencing, that a warrant was issued for his arrest, and that he was on the

lam for some four years before being captured. By such conduct,

Defendant forfeited any consideration the Government had previously

given, and the motion for downward departure was withdrawn. The record

clearly shows that the Government held up its end of the plea agreement;

the Defendant did not. He has only himself to blame for literally walking

away from a 63 month sentence.




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      The Defendant does not argue that his Judgment contains clerical

mistakes, oversights or omissions or is the result of “mistake, inadvertence,

surprise, or excusable neglect[,]” or state that he has newly discovered

evidence, or offer any other reason that might justify the relief he seeks.

Fed. R. Civ. P. 60(a) & (b)(1), (2) & (6). Therefore, the Court finds no

reason to disturb or otherwise provide Defendant any relief from the

judgment entered herein.

      Lastly, prisoners do not have an absolute and unconditional right of

access to the courts in order to prosecute frivolous, malicious, abusive or

vexatious motions. Demos v. Keating, 33 Fed. Appx. 918 (10 th Cir.

2002); Tinker v. Hanks, 255 F.3d 444, 445 (7 th Cir. 2001); In re Vincent,

105 F.3d 943 (4 th Cir. 1997). The Defendant has challenged his conviction

and sentence via a § 2255 motion and the motion has been adjudicated by

this Court. The Defendant did not pursue an appeal. Instead, he has now

filed four additional motions that are not only thinly disguised attempts to

further challenge his sentence, but the motions repeat the same arguments

that have been soundly rejected by this Court and the Fourth Circuit. The

Defendant is hereby warned that future frivolous filings will result in the

imposition of a pre-filing review system. Vestal v. Clinton, 106 F.3d 553




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(4 th Cir. 1997). If such a system is placed in effect, pleadings presented to

the Court which are not made in good faith and which do not contain

substance, will be summarily dismissed as frivolous. Foley v. Fix, 106

F.3d 556 (4 th Cir. 1997); In re Head, 19 F.3d 1429 (table), 1994 WL

118464 (4 th Cir. 1994). Thereafter, if such writings persist, the pre-filing

system may be modified to include an injunction from filings. See, 28

U.S.C. §1651(a); In re Martin-Trigona, 737 F.2d 1254 (2d Cir. 1984).

      IT IS, THEREFORE, ORDERED that the Defendant’s motions for

recusal, for reduction of sentence, for a writ of habeas corpus and for relief

from judgment are hereby DENIED.

                                        Signed: December 11, 2008




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